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                            IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG “DEEPWATER           *       MDL NO . 2179
HORIZON ” IN THE GULF OF MEXICO , ON
APRIL 20, 2010                                       *       SECTION “J”

                                                     *       HONORABLE CARL J. BARBIER
THIS DOCUMENT RELATES TO 12-970
                                                     *       MAGISTRATE JUDGE SHUSHAN

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                                                 ORDER

       IT IS HEREBY ORDERED, that the Special Master respond in detail regarding all of his

potential conflicts of interests in this case by the _____ day of _______________, 2013.

       IT IS FURTHER ORDERED, that the Andry interests are to file a motion to recuse or

state on the record that they have no objection to the Special Master continuing no later than the

_____ day of _______________, 2013.

       IT IS FURTHER ORDERED, that the Special Master cease further work regarding the

Andry interests until this matter is resolved.

       Any other party to this litigation who wishes to file a position oon this motion may

respond within _____ days of the Freeh response.

       This ________ day of _______________, 2013 at New Orleans, Louisiana.




                   _______________________________________
                       UNITED STATES DISTRICT JUDGE
